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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

LINDA M. DIXON,                               )         Case No. 8:13-cv-00111
                                              )
                        Plaintiff,            )
                                              )
      v.                                      )            ORDER OF DISMISSAL
                                              )              WITH PREJUDICE
BRIAN LEE VERHEY, an individual,              )
and JOHNSON FEED, INC.,                       )
a Corporation,                                )
                                              )
                        Defendants.           )
           THIS matter having come before the Court on the Stipulation For Dismissal of the
parties, and the Court, being fully advised in the premises,
           ORDERS, ADJUDGES, AND DECREES that the Complaint filed by the Plaintiff
be, and hereby is, dismissed with prejudice, each party to pay its own costs, complete
record waived by the Court.


           Dated: August 22, 2014


                                            BY THE COURT:


                                            s/ Joseph F. Bataillon
                                            United States District Judge



PREPARED AND SUBMITTED BY:

David C. Mullin, #21985
FRASER STRYKER PC LLO
500 Energy Plaza
409 South 17th Street
Omaha, NE 68102-2663
(402) 341-6000
ATTORNEY FOR DEFENDANTS




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